Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 1 of 23




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 22-cv-2805


ALLEGHENY COUNTY EMPLOYEES’ RETIREMENT SYSTEM, Individually
and on Behalf of All Others Similarly Situated,

       Plaintiff,

v.

PALANTIR TECHNOLOGIES INC.,
ALEXANDER C. KARP,
DAVID GLAZER, and
SHYAM SANKAR,

       Defendants.


                    CLASS ACTION COMPLAINT FOR VIOLATION OF
                          THE FEDERAL SECURITIES LAWS




       Plaintiff Allegheny County Employees’ Retirement System (“Plaintiff”), individually and

on behalf of all others similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants, alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia,

the investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of the Defendants’ public documents, conference calls and announcements made

by Defendants, United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire

and press releases published by and regarding Palantir Technologies Inc. (“Palantir” or the

“Company”), analysts’ reports and advisories about the Company, and information readily

                                                 1
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 2 of 23




obtainable on the Internet. Plaintiff believes that substantial, additional evidentiary support will

exist for the allegations set forth herein after a reasonable opportunity for discovery.

I.      NATURE OF THE ACTION

            1. This is a federal securities class action on behalf of a class consisting of all

persons and entities other than Defendants that purchased or otherwise acquired Palantir

securities between February 16, 2021 and May 6, 2022, both dates inclusive (the “Class

Period”), seeking to recover damages caused by Defendants’ violations of the federal securities

laws and to pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder, against the Company and

certain of its top officials.

            2. Palantir builds and deploys software platforms to assist the U.S. intelligence

community in counterterrorism investigations and operations. The Company has two operating

segments, commercial and government, with the latter primarily serving agencies in the U.S.

federal government and non-U.S. governments. Palantir also invests in so-called “marketable

securities” consisting of equity securities in publicly-traded companies.

            3. Palantir has consistently described sources of geopolitical instability and other

disruptions—e.g., armed conflicts, economic crises, and the COVID-19 pandemic—as

tailwinds for its business, given that the Company’s products and services are purportedly built

to aid its customers in assessing and responding to such disruptions.

            4. Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and prospects. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Palantir’s

investments in marketable securities were having a significant negative impact on the

                                                  2
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 3 of 23




Company’s earnings per share (“EPS”) results; (ii) Palantir overstated the sustainability of its

government segment’s growth and revenues; (iii) Palantir was experiencing a significant

slowdown in revenue growth, particularly among its government customers, despite ongoing

global conflicts and market disruptions; (iv) as a result of all the foregoing, the Company was

likely to miss consensus estimates for its first quarter 2022 (“Q1”) EPS and second quarter

2022 (“Q2”) sales outlook; and (v) as a result, the Company’s public statements were

materially false and misleading at all relevant times.

           5. On May 9, 2022, Palantir issued a press release announcing its Q1 financial

results and guidance for Q2. For Q1, Palantir announced adjusted EPS of $0.02, compared to

analyst estimates of $0.04 per share, noting on a conference call that the “[f]irst quarter

adjusted [EPS of] $0.02 . . . includes a negative $0.02 impact driven primarily by unrealized

losses on marketable securities.” The Company also disclosed that government revenue grew

by only 16% year-over-year for Q1, representing a significant slowdown in revenue growth

compared to prior quarters, and that, for Q2, the Company expected $470 million in sales,

compared to estimates of $483.76 million.

           6. On this news, Palantir’s stock price fell $2.02 per share, or 21.31%, to close at

$7.46 per share on May 9, 2022.

           7. As multiple news outlets reported that day, Palantir’s significant decline in

revenue growth, particularly from its government customers, surprised investors, especially

given the ongoing geopolitical instability and other disruptions caused by, inter alia, the

ongoing COVID-19 pandemic and Russo-Ukrainian War—that is, precisely the type of

destabilizing conditions that the Company had previously touted as tailwinds for its business.

           8. As a result of Defendants’ wrongful acts and omissions, and the precipitous

                                                 3
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 4 of 23




decline in the market value of the Company’s securities, Plaintiff and other Class members

have suffered significant losses and damages.

                                 JURISDICTION AND VENUE

           9. The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a)

of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder

by the SEC (17 C.F.R. § 240.10b-5).

           10. This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

           11. Venue is proper in this Judicial District pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Palantir is headquartered in this Judicial

District, Defendants conduct business in this Judicial District, and a significant portion of

Defendants’ actions took place within this Judicial District.

           12. In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

                                            PARTIES

           13. Plaintiff, as set forth in the attached Certification, acquired Palantir securities

at artificially inflated prices during the Class Period and was damaged upon the revelation of

the alleged corrective disclosures.

           14. Defendant Palantir is a Delaware corporation with principal executive offices

located at 1555 Blake Street, Suite 250, Denver, Colorado 80202. Palantir’s Class A common


                                                 4
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 5 of 23




stock trades in an efficient market on the New York Stock Exchange (“NYSE”) under the

trading symbol “PLTR”.

            15. Defendant Alexander C. Karp (“Karp”) has served as Palantir’s Chief

Executive Officer at all relevant times.

            16. Defendant David Glazer (“Glazer”) has served as Palantir’s Chief Financial

Officer at all relevant times.

            17. Defendant Shyam Sankar (“Sankar”) has served as Palantir’s Chief Operating

Officer at all relevant times.

            18. Defendants Karp, Glazer, and Sankar are sometimes referred to herein as the

“Individual Defendants.”

            19. The Individual Defendants possessed the power and authority to control the

contents of Palantir’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of Palantir’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions with Palantir, and their access to material information available to them but not to

the public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive representations

being made were then materially false and misleading. The Individual Defendants are liable

for the false statements and omissions pleaded herein.

            20. Palantir and the Individual Defendants are collectively referred to herein as

“Defendants.”


                                                 5
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 6 of 23




                               SUBSTANTIVE ALLEGATIONS

       A.      BACKGROUND

            21. Palantir builds and deploys software platforms to assist the U.S. intelligence

community in counterterrorism investigations and operations. The Company has two operating

segments, commercial and government, with the latter primarily serving agencies in the U.S.

federal government and non-U.S. governments. Palantir also invests in so-called “marketable

securities” consisting of equity securities in publicly-traded companies.

            22. Palantir has consistently described sources of geopolitical instability and other

disruptions—e.g., armed conflicts, economic crises, and the COVID-19 pandemic—as

tailwinds for its business, given that the Company’s products and services are purportedly built

to aid its customers in assessing and responding to such disruptions.

       B.      MATERIALLY FALSE AND MISLEADING STATEMENTS ISSUED DURING THE
               CLASS PERIOD

            23. The Class Period begins on February 16, 2021, when the Company reported its

fourth quarter 2020 results and fiscal year 2021 guidance. During a conference call held that

morning to discuss Palantir’s fourth quarter 2020 earnings (the “4Q20 Earnings Call”), while

discussing revenues from the Company’s government segment, Defendant Sankar told

investors: “As tremendous of [a] year as 2020 was for the government segment, we believe we

are just at the tip of the iceberg, and we are well-positioned to capture significant new

opportunities in 2021 and beyond.” Defendant Sankar also noted that “[o]ur pipeline is

substantial and growing.”

            24. Defendant Glazer, who also participated in the 4Q20 Earnings Call, likewise

emphasized that Palantir’s revenue growth was stable and poised for further growth:


                                                  6
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 7 of 23




       This growth rate is particularly strong when considering government customers
       entered into shorter-than-usual contracts in 2020 to accelerate procurement as they
       responded to the COVID crisis and moved quickly on various modernization efforts
       across both defense and civilian agencies. We expect a tailwind for government as
       these customers renew and expand.

           25. Then, on November 9, 2021, Palantir hosted a conference call with investors

and analysts during pre-market hours to discuss the Company’s third quarter 2021 results (the

“3Q21 Earnings Call”). On the call, while discussing Palantir’s growing government customer

base in his prepared remarks, Defendant Karp assured investors: “We have a motivating set of

customers and growing pipeline for big pursuits in ‘22 and beyond, and it is growing every

quarter. We’re not just competing for programs. Our unique capabilities are creating their own

opportunities.”

           26. Similarly, also during his prepared remarks on the 3Q21 Earnings Call,

Defendant Karp represented, in relevant part:

       One thing -- perhaps the one thing we have demonstrated to the market is that it is
       possible to sell software at scale to the government for programs of record where
       the government might have historically otherwise bought labor and services. And
       of course in doing so, we have radically transformed the margin profile of these big
       government contracts. There is an immense opportunity in this sector to partner
       with existing government contractors to productize their solutions that they are
       delivering as services today and in doing so, to transform the EBITDA they
       generate against their existing revenue with our platforms.

           27. Moreover, in response to a question on the 3Q21 Earnings Call regarding “the

future of Palantir’s Public Sector business, including if there are any billion-dollar contracts

like the latest U.S. Army wins in the pipeline[,]” Defendant Sankar indicated that, because of

multiple government contract wins in the quarter, Palantir was “uniquely position[ed] . . . for

future U.S. Army programs[,]” while going on to state, in relevant part:

       But that’s just the army. We had incredible opportunity that Space force[] and at
       the Air Force, places that we are investing a lot, we’re building on [Indiscernible]

                                                 7
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 8 of 23




       Project from [Indiscernible] air force and that forecourt space force reporting to the
       Space domains awareness platform. A very unique position. We have many
       independent opportunities to extend the work that we have done under, under USDI
       and NGA into the Combatant Commands themselves to directly take on near-peer
       threats . . . . Beyond defense, we see immense opportunities in our pipeline across
       health from the NHF and VA to the NIH and HHS. We see new opportunities within
       the Defense Industrial Base in its own right as customers to help them with their
       own manufacturing, but also in being a strategic partner, helping them capture new
       revenue streams by AI enabling their hardware platforms. This pipeline has
       aggregated fee in building. And all of this is happening despite the macro
       headwinds that we’ve all heard about across government services.

       COVID’s impact on delaying the pace of work. And we are just competing for
       known opportunities. Our capabilities are so unique, we’re creating our own
       opportunities. The macro factors here are big, big tailwinds for us. Clear consensus
       on the threat from an aggressive CCP, not only in terms of impacts on demand in
       the U.S. but also in Japan, Korea, Australia, the UK, the west and her allies broadly.
       The infrastructure bill, and our fit on the programs and awards that are being driven
       there. Carbon emissions management, EV charging infrastructure, building on our
       incredible commercial momentum in the mobility value chain. Delivery of major
       projects on time and on budget, and more broadly, the opportunity for SIs and
       primes on infrastructure projects to partner with Palantir, to develop their own high-
       margin software streams in place of historically low-margin nonrecurring services
       on our platforms. We are just at the beginning of big secular trends here. Trends
       that we anticipated and have invested in for years. We are uniquely positioned,
       cutting-edge product, ready to meet its moment.

           28. Also on November 9, 2021, Palantir filed a quarterly report on Form 10-Q with

the SEC, reporting the Company’s financial and operational results for the quarter ended

September 30, 2021 (the “3Q21 10-Q”). The 3Q21 10-Q stated, inter alia, that “[w]e have built

lasting and significant customer relationships with some of the world’s leading government

institutions” and “[w]e anticipate that our reach among an increasingly broad set of customers,

in both the commercial and government sectors, will accelerate moving forward.”

           29. With respect to marketable securities, the 3Q21 10-Q stated, in relevant part:

       Marketable securities . . . are recorded at fair market value each reporting period.
       Realized and unrealized gains and losses are recorded in other income (expense),
       net on the condensed consolidated statements of operations. During the three and
       nine months ended September 30, 2021, the Company recorded net unrealized


                                                 8
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 9 of 23




       losses of $7.2 million within other income (expense), net on the condensed
       consolidated statements of operations.

           30. Appended as exhibits to the 3Q21 10-Q were signed certifications pursuant to

the Sarbanes-Oxley Act of 2022 (“SOX”), wherein Defendants Karp and Glazer certified that

the 3Q21 10-Q “fully complies with the requirements of Section 13(a) or 15(d) of the

[Exchange Act] and that information contained in [the 3Q21 10-Q] fairly presents, in all

material respects, the financial condition and results of operations of Palantir[.]”

           31. On February 17, 2022, Palantir hosted a conference call with investors and

analysts to discuss the Company’s fourth quarter and full year 2021 results (the “4Q/FY21

Earnings Call”). On the call, a Jefferies analyst commented that government “decelerate[d]

pretty materially in Q1 in terms of the growth” and asked Defendants for their “perspective on

what’s happening on the government side?” In response, Defendant Karp downplayed issues

with growth in Palantir’s government segment, while simultaneously assuring investors that

Defendants had “solved” or were “solving” issues impacting that growth:

       Well, there’s a couple of things that are happening there. So if you were looking at
       this more like from a scientific perspective, you had a time series that’s 15 years,
       first thing you would do is say, okay, what’s happening in that time series over the
       15 years. What you see in U.S. gov is a compounded growth of 30%, but like this,
       which is the positive of U.S. gov is it’s reliable. The sums are big. The quality of
       the revenue is very high.

       The -- one of their -- essentially, there are a number of problems, but the biggest
       problem is barrier to entry, which we’ve clearly solved and then rebarriers to entry,
       which we’ve solved or solving, but that’s going very well. And then the second one
       is lumpiness. Now you -- that lumpiness still exists. And actually, in some ways,
       it’s worse because to get the integral to grow, you need these massive deals. We
       also have small deals, but the fact that we are on the biggest, most important parts
       of the U.S. government on our software is.

       So there’s really a twofold answer to your question. One, what will happen this
       year? Are there -- is there deceleration in actual one over a long time series? The
       answer is clearly no. But then the question is, if the baseline is 30, how does it get
       to where we want it, which was like the beginning of last year. And now at the end

                                                  9
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 10 of 23




       of last year, and the way that happens is the deals we’re already positioned to win
       actually closed.

           32. Defendant Karp, in response to the same question on the 4Q/FY21 Earnings

Call, also represented that increasing global threats would boost Palantir’s government

segment revenues, stating, in relevant part:

       [I]f you just look at that chart, I showed you with the [compound annual growth
       rate (CAGR)] on Foundry, these are the most important programs for a dangerous
       world.

       Now I can’t go into all the details, but we used to debate with people, especially
       my academic friends if the world was dangerous. The danger of the world being
       clear and present to the U.S. government is very protective. It doesn’t guarantee
       that when this integral actually -- how it behaves, but it makes it much more likely
       that it will happen here and positively affect our revenue which is another reason
       why I suspect that we will do well.

           33. On February 24, 2022, Palantir filed an annual report on Form 10-K with the

SEC, reporting the Company’s financial and operational results for the quarter and year ended

December 31, 2021 (the “2021 10-K”). The 2021 10-K contained the same statements as

referenced in ¶ 28, supra, regarding Palantir’s government customer relationships and

anticipated “accelerat[ing]” reach among an increasingly broad set of government customers,

while representing, inter alia, that “customers are increasingly adopting our software . . . over

internal software development efforts” as a result of “[r]ecent crises and systemic shocks, such

as the COVID-19 pandemic[.]”

           34. The 2021 10-K also purported to warn investors of market risks related to

Palantir’s marketable securities investments, stating, in relevant part:

       As of December 31, 2021, we had outstanding investments valued at $234.2 million
       in marketable securities. We may continue to make additional investments or sell the
       existing investments. These investments are often in early- or growth-stage
       companies that have minimal public trading history; as such the fair value of these
       investments may fluctuate depending on the financial outcome and prospects of the
       investees, as well as global market conditions including recent and ongoing volatility
                                                 10
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 11 of 23




       related to the impacts of COVID-19. Additionally, early-stage companies are
       inherently risky because the technologies or products these companies have under
       development are typically in the early phases and may never materialize, and they
       may experience a decline in financial condition, which could result in a loss of a
       substantial part of our investment in these companies. We record gains or losses as
       the fair value of these investments change and as we sell them. We anticipate
       additional volatility to our consolidated statements of operations due to changes in
       market prices, and as such gains and losses are realized. During the fiscal year
       ended December 31, 2021, net unrealized losses of $72.8 million related to
       marketable securities were recorded in other income (expense), net on the
       consolidated statements of operations.


Plainly, the foregoing risk warning was a generic, boilerplate provision that was not tailored

to Palantir’s actual known risks regarding the material negative impact that the Company’s

marketable securities investments were having on the Company’s EPS results.
           35. Appended as exhibits to the 2021 10-K were substantively the same SOX

certifications as referenced in ¶ 30, supra, signed by Defendants Karp and Glazer.

           36. The statements referenced in ¶¶ 23-35 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose

material adverse facts about the Company’s business, operations, and prospects. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Palantir’s

investments in marketable securities were having a significant negative impact on the

Company’s EPS results; (ii) Palantir overstated the sustainability of its government segment’s

growth and revenues; (iii) Palantir was experiencing a significant slowdown in revenue growth,

particularly among its government customers, despite ongoing global conflicts and market

disruptions; (iv) as a result of all the foregoing, the Company was likely to miss consensus

estimates for its Q1 EPS and Q2 sales outlook; and (v) as a result, the Company’s public

statements were materially false and misleading at all relevant times.




                                                 11
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 12 of 23




        C.        THE TRUTH EMERGES

               37. On May 9, 2022, during pre-market hours, Palantir issued a press release

announcing its Q1 financial results, including adjusted EPS of $0.02, compared to analyst

estimates of $0.04 per share. Palantir also disclosed that government revenue grew by only

16% year-over-year for Q1, representing a significant slowdown in revenue growth compared

to prior quarters, and that, for Q2, the Company expected $470 million in sales, compared to

estimates of $483.76 million.

               38. Also on May 9, 2022, during pre-market hours, Palantir hosted a conference call

with investors and analysts to discuss the Company’s Q1 results and Q2 guidance. On the call,

Defendant Glazer disclosed that the Company’s “[f]irst quarter adjusted [EPS of] $0.02 . . .

includes a negative $0.02 impact driven primarily by unrealized losses on marketable

securities.”

               39. Following these disclosures, Palantir’s stock price fell $2.02 per share, or

21.31%, to close at $7.46 per share on May 9, 2022.

               40. As multiple news outlets reported that day, Palantir’s significant decline in

revenue growth, particularly from its government customers, surprised investors, especially

given the ongoing geopolitical instability and other disruptions caused by, inter alia, the

ongoing COVID-19 pandemic and Russo-Ukrainian War—that is, precisely the type of

destabilizing conditions that the Company had previously touted as tailwinds for its business.

               41. For example, on May 9, 2022, Bloomberg published an article entitled “Palantir

Craters Most Since 2020 on Wider-Than-Expected Loss[,]” stating that Palantir’s “shares

plummeted as much as 22% . . . the biggest intraday drop since September 2020, after the software



                                                   12
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 13 of 23




maker reported mounting losses and a disappointing sales forecast.” Blomberg noted, among other

issues, that “in the quarter that ended in March, revenue growth from government customers

slowed to 16% with sales totaling $241.7 million[,]” representing “the slowest quarterly

growth for the segment since Palantir began reporting results as a public company in late

2020[,]” even “despite new and expanded deals with agencies spurred by continuing fallout

from the pandemic and rising geopolitical tensions, particularly the Russia-Ukraine conflict.”

           42. Also on May 9, 2022, Investor’s Business Daily published an article entitled

“Palantir Earnings, Revenue Guidance Miss Amid Slowing Government Growth[,]” which

similarly noted that Palantir’s “stock plunged as revenue guidance came in below expectations

amid slowing government growth.”

           43. Likewise, on May 9, 2022, The Motley Fool published an article entitled “Why

Palantir Stock Crashed Today[,]” stating that Palantir’s “slowing growth drove many investors

to sell their shares” as “its larger government business saw revenue rise by only 16%, to $241

million[,]” which “was a surprise to investors, as the company was widely believed to see

significantly higher demand for its government- and defense-focused data services due to the

war in Ukraine.”

           44. As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members

have suffered significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

           45. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired Palantir securities during the Class Period (the “Class”); and were damaged

                                                13
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 14 of 23




upon the revelation of the alleged corrective disclosures. Excluded from the Class are

Defendants herein, the officers and directors of the Company, at all relevant times, members

of their immediate families and their legal representatives, heirs, successors or assigns and any

entity in which Defendants have or had a controlling interest.

            46. The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Palantir securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Palantir or its transfer agent and may be notified

of the pendency of this action by mail, using the form of notice similar to that customarily used

in securities class actions.

            47. Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

            48. Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

            49. Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:


                •     whether the federal securities laws were violated by Defendants’ acts as
                      alleged herein;

                                                  14
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 15 of 23




                  •   whether statements made by Defendants to the investing public during
                      the Class Period misrepresented material facts about the business,
                      operations and management of Palantir;

                  •   whether the Individual Defendants caused Palantir to issue false and
                      misleading financial statements during the Class Period;

                  •   whether Defendants acted knowingly or recklessly in issuing false and
                      misleading financial statements;

                  •   whether the prices of Palantir securities during the Class Period were
                      artificially inflated because of the Defendants’ conduct complained of
                      herein; and

                  •   whether the members of the Class have sustained damages and, if so, what
                      is the proper measure of damages.
            50. A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

            51. Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:


                  •   Defendants made public misrepresentations or failed to disclose material
                      facts during the Class Period;

                  •   the omissions and misrepresentations were material;

                  •   Palantir securities are traded in an efficient market;

                  •   the Company’s shares were liquid and traded with moderate to heavy
                      volume during the Class Period;

                  •   the Company traded on the NYSE and was covered by multiple analysts;

                  •   the misrepresentations and omissions alleged would tend to induce a
                                                  15
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 16 of 23




                      reasonable investor to misjudge the value of the Company’s securities;
                      and

                •     Plaintiff and members of the Class purchased, acquired and/or sold
                      Palantir securities between the time the Defendants failed to disclose or
                      misrepresented material facts and the time the true facts were disclosed,
                      without knowledge of the omitted or misrepresented facts.
            52. Based upon the foregoing, Plaintiff and the members of the Class are entitled

to a presumption of reliance upon the integrity of the market.

            53. Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

                                          COUNT I
 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants)

            54. Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

            55. This Count is asserted against Defendants and is based upon Section 10(b) of

the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

            56. During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the

other members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud

                                                 16
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 17 of 23




in connection with the purchase and sale of securities. Such scheme was intended to, and,

throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and other

Class members, as alleged herein; (ii) artificially inflate and maintain the market price of Palantir

securities; and (iii) cause Plaintiff and other members of the Class to purchase or otherwise

acquire Palantir securities and options at artificially inflated prices. In furtherance of this

unlawful scheme, plan and course of conduct, Defendants, and each of them, took the actions set

forth herein.

            57. Pursuant to the above plan, scheme, conspiracy and course of conduct, each of

the Defendants participated directly or indirectly in the preparation and/or issuance of the

quarterly and annual reports, SEC filings, press releases and other statements and documents

described above, including statements made to securities analysts and the media that were

designed to influence the market for Palantir securities. Such reports, filings, releases and

statements were materially false and misleading in that they failed to disclose material adverse

information and misrepresented the truth about Palantir’s finances and business prospects.

            58. By virtue of their positions at Palantir, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative,

Defendants acted with reckless disregard for the truth in that they failed or refused to ascertain

and disclose such facts as would reveal the materially false and misleading nature of the

statements made, although such facts were readily available to Defendants. Said acts and

omissions of Defendants were committed willfully or with reckless disregard for the truth. In

addition, each Defendant knew or recklessly disregarded that material facts were being

misrepresented or omitted as described above.


                                                   17
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 18 of 23




            59. Information showing that Defendants acted knowingly or with reckless

disregard for the truth is peculiarly within Defendants’ knowledge and control. As the senior

managers and/or directors of Palantir, the Individual Defendants had knowledge of the details

of Palantir’s internal affairs.

            60. The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein. Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements

of Palantir. As officers and/or directors of a publicly-held company, the Individual Defendants

had a duty to disseminate timely, accurate, and truthful information with respect to Palantir’s

businesses, operations, future financial condition and future prospects. As a result of the

dissemination of the aforementioned false and misleading reports, releases and public

statements, the market price of Palantir securities was artificially inflated throughout the Class

Period. In ignorance of the adverse facts concerning Palantir’s business and financial

condition which were concealed by Defendants, Plaintiff and the other members of the Class

purchased or otherwise acquired Palantir securities at artificially inflated prices and relied

upon the price of the securities, the integrity of the market for the securities and/or upon

statements disseminated by Defendants, and were damaged thereby.

            61. During the Class Period, Palantir securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Palantir securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff

and the other members of the Class known the truth, they would not have purchased or


                                                   18
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 19 of 23




otherwise acquired said securities, or would not have purchased or otherwise acquired them at

the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff

and the Class, the true value of Palantir securities was substantially lower than the prices paid

by Plaintiff and the other members of the Class. The market price of Palantir securities declined

sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class

members.

              62. By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

              63. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                          COUNT II
    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

              64. Plaintiff repeats and re-alleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

              65. During the Class Period, the Individual Defendants participated in the operation

and management of Palantir, and conducted and participated, directly and indirectly, in the

conduct of Palantir’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Palantir’s misstatement of income and expenses and false financial

statements.


                                                  19
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 20 of 23




            66. As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to

Palantir’s financial condition and results of operations, and to correct promptly any public

statements issued by Palantir which had become materially false or misleading.

            67. Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which Palantir disseminated in the marketplace during the Class

Period concerning Palantir’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Palantir to engage in the wrongful acts

complained of herein. The Individual Defendants, therefore, were “controlling persons” of

Palantir within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of

Palantir securities.

            68. Each of the Individual Defendants, therefore, acted as a controlling person of

Palantir. By reason of their senior management positions and/or being directors of Palantir,

each of the Individual Defendants had the power to direct the actions of, and exercised the

same to cause, Palantir to engage in the unlawful acts and conduct complained of herein. Each

of the Individual Defendants exercised control over the general operations of Palantir and

possessed the power to control the specific activities which comprise the primary violations

about which Plaintiff and the other members of the Class complain.

            69. By reason of the above conduct, the Individual Defendants are liable pursuant

to Section 20(a) of the Exchange Act for the violations committed by Palantir.



                                                20
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 21 of 23




                                   PRAYER FOR RELIEF


   WHEREFORE, Plaintiff demands judgment against Defendants as follows:

          A. Determining that the instant action may be maintained as a class action under

   Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

   representative;

          B. Requiring Defendants to pay damages sustained by Plaintiff and the Class by

   reason of the acts and transactions alleged herein;

          C. Awarding Plaintiff and the other members of the Class prejudgment and post-

   judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs;

   and

          D. Awarding such other and further relief as this Court may deem just and proper.


                              DEMAND FOR TRIAL BY JURY


          Plaintiff hereby demands a trial by jury.

   Dated: October 25, 2022                   Respectfully submitted,

                                             /s/ Rusty E. Glenn
                                             Rusty E. Glenn
                                             rusty@shumanlawfirm.com
                                             SHUMAN, GLENN & STECKER
                                             600 17th Street, Suite 2800 South
                                             Denver, Colorado 80202
                                             Phone: (303) 861-3003
                                             Fax: (303) 536-7849

                                             Daniel L. Berger
                                             dberger@gelaw.com
                                             Caitlin M. Moyna
                                             cmoyna@gelaw.com
                                             GRANT & EISENHOFER PA
                                             485 Lexington Avenue
                                             New York, New York 10017 Phone: (646)

                                                21
Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 22 of 23




                                   722-8500
                                   Fax: (646) 722-8501

                                   Attorneys for Plaintiff




                                     22
  Case 1:22-cv-02805-SKC Document 1 Filed 10/25/22 USDC Colorado Page 23 of 23



Palantir Technologies Inc. -- Schedule A
Allegheny County Employees' Retirement System
Cusip:           69608A108
Ticker:          PLTR
Class Period:    February 16, 2021 through May 6, 2022

Beginning Holdings: 1,000 shares
                Purchases                                             Sales
  Trade Date       Quantity        Price                 Trade Date    Quantity   Price
    04/23/21         1,865         $23.41
    09/20/21         2,700         $26.22
